          Case 2:96-cr-00259-WFN                   ECF No. 566            filed 11/17/22           PageID.13280 Page 1 of 8
                                                                                                                               FILED IN THE
 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                          U.S. DISTRICT COURT
                      Sheet 1                                                                                        EASTERN DISTRICT OF WASHINGTON




                                        UNITED STATES DISTRICT COURT                                                  Nov 17, 2022
                                                     Eastern District of Washington                                       SEAN F. MCAVOY, CLERK




             UNITED STATES OF AMERICA                                      SECOND RESENTENCING JUDGMENT
                        v.
              ROBERT SHERMAN BERRY                                         Case Number:          2:96-CR-0259-WFN-1
                                                                           USM Number:           09031-085
                                                                                                       Walter L. Ayers
                                                                                                        Defendant's Attorney
 Date of Amended Resentencing Judgment             5/4/2021



THE DEFENDANT:
 ☐ pleaded guilty to count(s)
       pleaded nolo contendere to count(s)
 ☐ which was accepted by the court.
       was found guilty on count(s) after a
 ☒ plea of not guilty.                             1, 2s, 4s, 5s, 6s, 8s, 9s, 10, 11 and 12

The defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                   Offense Ended             Count
 18 U.S.C. § 371              Conspiracy to Commit Counts 2 - 12                                                     10/08/1996              1
 18 U.S.C. § 844(i)           Destruction of Building Used in Interstate Commerce                                    04/01/1996              2s
 18 U.S.C. § 2113(a) & (d)    Armed Bank Robbery                                                                     04/01/1996              4s
 18 U.S.C. § 924(c)           Use of Firearm During Crime of Violence                                                04/01/1996              5s
 18 U.S.C. § 844(i)           Destruction of Building Used in Interstate Commerce                                    07/12/1996              6s

        The defendant is sentenced as provided in pages 2 through            8       of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s)                                                                  ☐ is ☐ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                11/16/2022
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Wm. Fremming Nielsen                  Senior Judge, U.S. District
                                                                Name and Title of Judge
                                                                11/17/2021
                                                                Date
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AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                   Judgment -- Page 2 of 8
                     Sheet 1A

DEFENDANT:          ROBERT SHERMAN BERRY
Case Number:        2:96-CR-0259-WFN-1


                                  ADDITIONAL COUNTS OF CONVICTION

Title & Section             /            Nature of Offense                              Offense Ended           Count
18 U.S.C. § 2113(a)&(d)    Armed Bank Robbery                                            07/12/1996              8s
18 U.S.C. § 924(c)         Use of Firearm During Crime Of Violence                       07/12/1996              9s
18 U.S.C. § 2312           Interstate Transportation Of Stolen Motor Vehicle             10/08/1996              10
18 U.S.C. § 2312           Interstate Transportation Of Stolen Motor Vehicle             10/08/1996              11
26 U.S.C. § 5861(d)        Possession of Unregistered Grenades                           10/08/1996              12
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 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                       Judgment -- Page 3 of 8
                      Sheet 2 - Imprisonment

 DEFENDANT:            ROBERT SHERMAN BERRY
 Case Number:          2:96-CR-0259-WFN-1


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:       Time Served as to all Counts *
       * *Subject to the maximum statutory penalty for each count.
       This Court previously granted the Defendant Compassionate Release pursuant to 18 U.S.C. § 3582(c). (See ECF 542.) The
Defendant was incarcerated in this matter from October 8, 1996, to May 14, 2021.



 ☐ The court makes the following recommendations to the Bureau of Prisons:




 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

            ☐ at                                        ☐    a.m.        ☐     p.m.    on

            ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ before 2 p.m. on
            ☐ as notified by the United States Marshal.
            ☐ as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                     to


at                                                  , with a certified copy of this judgment.




                                                                             ______________________________________________________
                                                                                                UNITED STATES MARSHAL

                                                                         By ______________________________________________________
                                                                                            DEPUTY UNITED STATES MARSHAL
             Case 2:96-cr-00259-WFN                       ECF No. 566   filed 11/17/22       PageID.13283 Page 4 of 8
 AO 245B      (Rev. 09/19) Judgment in a Criminal Case                                                                  Judgment -- Page 4 of   8
                           Sheet 3 – Supervised Release

 DEFENDANT:               ROBERT SHERMAN BERRY
 Case Number:             2:96-CR-0259-WFN-1

                                                           SUPERVISED RELEASE
Upon release from imprisonment, you shall be on supervised release as follows:
      •     As to Counts 1, 2s, 4s, 6s, 8s, 9s, 10, 11,and 12, supervised release shall terminate on May 13, 2024, absent further order of
            the Court
      •     As to Count 5s, supervised release shall terminate on May 13, 2026, absent further order of the Court.
      •     All terms of supervised release shall run CONCURRENTLY with one another

                                                      MANDATORY CONDITIONS
 1.       You must not commit another federal, state or local crime.
 2.       You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                ☐ The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check if applicable)
 4.       ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.       ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
               seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
               you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.       ☐ You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
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 AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                  Judgment -- Page 5 of   8
                         Sheet 3A – Supervised Release

 DEFENDANT:             ROBERT SHERMAN BERRY
 Case Number:           2:96-CR-0259-WFN-1

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
       how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
 4.    You must be truthful when responding to the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
       officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
 12.   If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in
       accordance with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material change
       in your economic circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special
       assessments.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                            Date
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AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                  Judgment -- Page 6 of   8
                        Sheet 3D – Supervised Release

DEFENDANT:             ROBERT SHERMAN BERRY
Case Number:           2:96-CR-0259-WFN-1

                                       SPECIAL CONDITIONS OF SUPERVISION
1.   You must provide the supervising officer with access to any requested financial information and authorize the release of any
     financial information. The probation office may share financial information with the U.S. Attorney’s Office. You must disclose
     all assets and liabilities to the supervising officer. You must not transfer, sell, give away, or otherwise convey any asset, without
     the advance approval of the supervising officer.

2.   You must not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance
     approval of the supervising officer.

3.   You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a
     sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
     Failure to submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the
     premises may be subject to search.

4.   You must abstain from the use of illegal controlled substances, including marijuana.
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    AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                      Judgment -- Page 7 of   8
                            Sheet 5 – Criminal Monetary Penalties

    DEFENDANT:             ROBERT SHERMAN BERRY
    Case Number:           2:96-CR-0259-WFN-1

                                                CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                  Restitution         Fine                      AVAA Assessment*           JVTA Assessment**
    TOTALS          $850.00                     $214,340.83         $.00                      $.00                       $.00

    ☐ The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to 18 U.S.C. § 3573(1) because
         reasonable efforts to collect this assessment are not likely to be effective and in the interests of justice.
    ☐    The determination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO245C) will be
         entered after such determination.
    ☐    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
           the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
           before the United States is paid.

Name of Payee                                                          Total Loss***          Restitution Ordered       Priority or Percentage

Aetna Casualty and Surety Co.                                              $   8,026.00                $    8,026.00            in full
Cowles Publishing                                                          $   2,631.74                $    2,631.74            in full
Hirning Pontiac                                                            $ 29,000.00                 $ 29,000.00              in full
Planned Parenthood                                                         $ 17,289.94                 $ 17,289.94              in full
State Farm Insurance Co.                                                   $ 31,412.78                 $ 31,412.78              in full
US Bank - Corporate Security Payment                                       $ 125,980.37                $ 125,980.37             in full




TOTALS                                                                     $214,340.83                  $214,340.83


    ☐ Restitution amount ordered pursuant to plea agreement            $

    ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
    ☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☒ the interest requirement is waived for the       ☐ fine                               ☒ restitution
      ☐ the interest requirement for the                 ☐ fine                               ☐ restitution is modified as follows:


*   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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 AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                              Judgment -- Page 8 of   8
                         Sheet 6B – Schedule of Payments

 DEFENDANT:             ROBERT SHERMAN BERRY
 Case Number:           2:96-CR-0259-WFN-1

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                      due immediately, balance due
   ☐         not later than                                                        , or
   ☐         in accordance with        ☐ C, ☐ D, ☐ E, or        ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                              ☒ F below); or
 C ☐         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☒ Joint and Several 1     0F




        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.
        Verne Jay Merrell, 2:96-CR-0257-WFN-1                                  $214,340.83                    $214,340.83
        Charles Harrison Barbee, 2:96-CR-0258-WFN-1                            $214,340.83                    $214,340.83
        Brian Edward Ratigan, 2:97-CR-0066-WFN-1                               $118,394.72                    $118,394.72

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
